       Case 1-18-40038-nhl             Doc 26      Filed 03/20/18    Entered 03/20/18 15:28:55




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                                    Chapter 7

         84 ELTON LLC,                                                    Case No.: 18-40038-nhl

                                    Debtor.
----------------------------------------------------------------x

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                   )
                                    ) ss:
COUNTY OF SUFFOLK                   )

         EVERLYN MEADE-BRAMBLE, being duly sworn, deposes and says:

         Deponent is not a party to this action, is over 18 years of age and resides at Bronx, New York;

         On the 20th day of March, 2018 deponent served the AMENDED SCHEDULES with
AFFIDAVIT attached thereof, upon the attorneys/parties listed on the annexed list at the addresses
listed, said addresses designated for that purpose, by depositing a true copy of same enclosed in a
postpaid, properly addressed wrapper in an official depository under the exclusive care and custody
of the United States Postal Service within the State of New York by First Class Mail:

See attached list

                                                                    s/Everlyn Meade-Bramble
                                                                    Everlyn Meade-Bramble

Sworn to before me this
20th day of March, 2018

s/ Scott T. Dillon
SCOTT T. DILLON
Notary Public, State of New York
No. 02D16152101
Qualified in Suffolk County
Commission Expires October 22, 2018
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                                                        Brooklyn, NY 11234-3522



                                                        Estate of Rafael Rodriguez
Estate of R. Rodriguez                                  393 Pulaski Street
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George Rodriguez                                        George Rodriguez
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Internal Revenue Service                                Internal Revenue Service
c/o United States Attorney                              Centralized Insolvency
Eastern District of NY                                  PO Box 7346
271 Cadman Plaza, FL. 7                                 Philadelphia, PA 19101-7346
Brooklyn, NY 11201-1820


Jose Manuel Rodriguez                                   Joshua W. Rios
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Nazrul Islam                                                NYC Department of Finance
127-21 Liberty Avenue                                       TP&P Division
S. Richmond Hill, NY 11419-2215                             Bankruptcy Unit
                                                            345 Adams Street, FL. 5
                                                            Brooklyn, NY 11201-3719


NYC Department of Finance                                   NYC Department of Finance
Tax, Audit and Enforcement Division                         One Centre Street, Room 2435
Attn: Bankruptcy Unit                                       New York, NY 10007-1601
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NYS Department of Taxation & Finance                        NYCTL 1998-2 Trust and The Bank of NY Mellon
Bankruptcy Procedures                                       c/o MTAG Services, LLC
PO Box 5300                                                 Attn: Maria Triolo
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